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              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

IN RE:                         §             CASE NO. 25-30155
                               §
ALLIANCE FARM AND RANCH, LLC,  §             (CHAPTER 11)
                               §
      DEBTOR                   §
                               §
                               §
IN RE:                         §             CASE NO. 25-31937
                               §
ALLIANCE ENERGY PARTNERS, LLC, §             (CHAPTER 11)
                               §
      DEBTOR                   §


                DEBTORS’ EMERGENCY MOTION FOR
     ENTRY OF AN ORDER (I) DIRECTING JOINT ADMINISTRATION OF
    RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

                 NOTICE PURSUANT TO LOCAL RULE 9013-1

A HEARING ON THIS MOTION HAS BEEN SET FOR WEDNESDAY, APRIL 9, 2025
AT 2:00 PM IN COURTROOM NO. 400, UNITED STATES COURTHOUSE, 515 RUSK,
HOUSTON, TX 77002.

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE
THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO
RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST
FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND
SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU.
YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU
DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY
DECIDE THE MOTION AT THE HEARING.

EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT LATER
THAN 2:00 P.M. (PREVAILING CENTRAL TIME) ON APRIL 9, 2025. IF THE COURT
CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS
THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU
BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
SHOULD FILE AN IMMEDIATE RESPONSE.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.
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         Alliance Farm and Ranch, LLC and Alliance Energy Partners, LLC, the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), hereby file this Emergency Motion

for Entry of an Order (I) Directing Joint Administration of Related Chapter 11 Cases and (II)

Granting Related Relief (the “Motion”), and in support hereof, respectfully state as follows:

                                 I.   JURISDICTION AND VENUE

         1.       The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper in this Court

under 28 U.S.C. §§ 1408 and 1409.

         2.       The statutory predicates for the relief requested in this Motion are section 105(a) of

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended and modified, the

“Bankruptcy Code”), Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), Rule 1015-1 of the Bankruptcy Local Rules for the Southern District of

Texas (the “Bankruptcy Local Rules”).

                                        II.   BACKGROUND

         3.       On January 7, 2025, Alliance Farm and Ranch, LLC (“Farm and Ranch”) filed a

voluntary petition for relief under chapter 7 of the Bankruptcy Code in the United States

Bankruptcy Court for the Southern District of Texas, Houston Division. Upon motion of the

Debtor, the case was converted to a Chapter 11 case on March 19, 2025 (the “Conversion Date”).

On April 7, 2025, Alliance Energy Partners, LLC (“Energy”) filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern

District of Texas, Houston Division.

         4.       Pursuant to Bankruptcy Code sections 1107(a) and 1108, the Debtors are operating

their businesses and managing their property as debtors in possession. No official committee has




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been appointed in the Chapter 11 Cases, and no request has been made for the appointment of a

trustee or examiner.

         5.       Farm and Ranch is a Texas limited liability corporation owned 100% by Jerod Furr

(“Furr”) who is also its managing member. Energy is a Texas limited liability corporation owned

100% by a Texas corporation AE Partners Holdings, Inc. (“Holdings”). Holdings is owned 100%

by Furr. Furr is Energy’s sole manager.

         6.       Farm and Ranch owned a 73-acre ranch located at 5450 Honea Egypt Rd.,

Montgomery, Texas 77316 (the “Property”) and operated its ranching and cattle business thereon.

The mortgage on the Property was held by Erik and Darla Ostrander (“Ostrander”) in the

approximate amount of $4 million. On January 3, 2025, the Farm and Ranch filed a lawsuit styled

Alliance Farm and Ranch, LLC v. Erik C. Ostrander and Darla Ostrander, Cause No. 25-01-

00068 in the District Court of Montgomery County, Texas, 284th Judicial District (the “Lawsuit”).

By the Lawsuit, the Debtor sought to enjoin Ostrander’s foreclosure of the Property scheduled for

January 7, 2025. Ostrander purportedly foreclosed on the Property on January 7, 2025. The

Debtor’s claims asserted in the Lawsuit will have bearing upon the validity of the foreclosure and

constitute the primary asset of the Farm and Ranch bankruptcy estate. Farm and Ranch has

minimal creditors other than Ostrander’s secured claim.

         7.       Energy provides downhole drilling and measurement while drilling (“MWD”)

services to the oil and gas industry. Prior to its bankruptcy filing, Energy operated its business as

a tenant of Farm and Ranch at the Property. As a result of Ostrander’s foreclosure, Energy has

had to temporarily cease its operations.

         8.       Energy is the largest unsecured creditor of Farm and Ranch with a claim totaling

approximately $1,000,000.00 as a result of its loan of funds to Farm and Ranch to purchase the




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Property. Other than its claim against Farm and Ranch, Energy owes approximately $3 million to

vendors as general unsecured debt and has minimal assets with which to pay creditors.

         9.       The Debtors believe that the best chance for reorganization or orderly liquidation

of the companies is to allow Farm and Ranch to prosecute its claims against Ostrander. If

successful, Farm and Ranch would either (1) be able to reclaim the Property, thereby providing a

base of operations of both Debtors to continue their businesses, or (2) in the event of a monetary

recovery, be able to provide a substantial dividend to Energy’s creditors in a liquidation.

                                   III.   RELIEF REQUESTED

         10.      By this Motion, the Debtors seek entry of an order, substantially in the form

submitted herewith: (i) directing procedural consolidation and joint administration of their related

Chapter 11 Cases; and (ii) granting related relief. The Debtors request that the Court maintain one

file and one docket for the jointly-administered Chapter 11 Cases under the case of Alliance Farm

and Ranch, LLC.


                            IV.     BASIS FOR RELIEF REQUESTED

A.       Joint Administration is in the Best Interests of the Estates

         11.      Bankruptcy Code section 105(a) empowers the bankruptcy court to “issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

11 U.S.C. § 105(a). Bankruptcy Rule 1015(b) provides that if “two or more petitions are pending

in the same court by or against … a debtor and an affiliate, the court may order joint administration

of the estates.” FED. R. BANKR. P. 1015(a). The primary considerations to be weighed by the

Court when considering joint administration are: (i) protecting creditors of different estates against

potential conflicts of interest; and (ii) avoiding unnecessary costs and delays. See FED. R. BANKR.

P. 1015(c) (discussing factors to consider); see also Wells Fargo Bank of Texas N.A. v. Sommers



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(In re Amco Ins.), 444 F.3d 690, 694-96 (5th Cir. 2006). Bankruptcy Local Rule 1015-1 provides

additional authority for the Court to order joint administration of the cases.

         12.      The Debtors submit that joint administration of their Chapter 11 Cases is necessary

and appropriate under the circumstances. The Debtors commenced the two cases by filing

voluntary petitions with the Court. The Debtors are “affiliates” as that term is defined in section

101(2) of the Bankruptcy Code. Pursuant to Bankruptcy Local Rule 1015-1, the instant Motion

has been filed in the Chapter 11 Case with the lowest case number.

         13.      The Debtors’ financial affairs, management, and business operations are related.

The same person operates both entities as managing member. Both Debtors historically operated

from the same business location. Further, Energy’s claims against Farm and Ranch provide a way

to compensate Energy’s creditors with no or minimal detriment to the creditors of Farm and Ranch.

         14.      Many of the motions, hearings, and orders in the Chapter 11 Cases will affect both

Debtors and their respective estates. Given the provisions of the Bankruptcy Rules and Bankruptcy

Local Rules, the Debtors submit that joint administration will save substantial costs and prevent

delays, which will serve the interests of estates and their creditors, and will in turn foster the most

expeditious and economical administration of the estates. Moreover, the supervision of the

administrative aspect of the Chapter 11 Cases by the Office of the United States Trustee for the

Southern District of Texas will be simplified, and the Court will also be relieved of the burden of

entering duplicative orders and maintaining duplicative files.

         15.      The rights of creditors will not be adversely affected by the joint administration of

these Chapter 11 Cases, as the relief requested in this Motion is purely procedural. Indeed, this

Motion is not intended to affect substantive rights and all creditors and parties in interest will

maintain whatever rights they have under the Bankruptcy Code and applicable law, including




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asserting claims or other rights against a particular Debtor’s estate. Thus, all creditors will benefit

by the reduced costs that will result from the joint administration of the Chapter 11 Cases.

B.       Separate Docket Entries and Proofs of Claim

         16.      The Debtors also seek the Court’s direction that a notation substantially similar to

the following notation be entered on the docket in the Energy chapter 11 case to reflect joint

administration of these cases:

         An order has been entered in this case directing the joint administration of the
         chapter 11 cases of Alliance Farm and Ranch, LLC and Alliance Energy Partners,
         LLC. The docket in Case No. 25-30155 should be consulted for all matters
         affecting this case, and all further pleadings and other papers shall be filed in, and
         all further docket entries shall be made in, Case No. 25-30155.

         17.      In view of the fact that joint administration is a procedural matter only, the Debtors

respectfully request that the Court direct that any creditor filing a proof of claim against the Debtors

or their respective estates clearly assert its claim against the particular Debtor obligated on such

claim, and not against the jointly-administered Debtors as a whole.

         18.      For these reasons, the Debtors submit that the relief requested in this Motion is in

the best interests of the Debtors, their estates, creditors, and other parties in interests and, should

therefore be granted by the Court.

                              V.    EMERGENCY CONSIDERATION

         19.      The Debtors respectfully request emergency consideration of this Motion pursuant

to Bankruptcy Local Rule 9013-1(i) and Bankruptcy Rule 6003, which authorizes a court to grant

relief within the first 21 days after the commencement of a chapter 11 case “to the extent that relief

is necessary to avoid immediate and irreparable harm.” FED. R. BANKR. P. 6003. The Debtors

believe an immediate and orderly transition into chapter 11 is critical to the viability of the Debtors

and the success of these Chapter 11 Cases. The Debtors submit that they have satisfied the




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“immediate and irreparable harm” standard of Bankruptcy Rule 6003, and the Debtors believe that

emergency consideration is necessary and request that this Motion be heard at the first day hearing.

                                VI. RESERVATION OF RIGHTS

         20.      Nothing contained herein shall be deemed: (i) an admission as to the amount of,

basis for, or validity of any claim against any of the Debtors under the Bankruptcy Code or other

applicable non-bankruptcy law; (ii) an impairment or waiver of the Debtors’ or any other party in

interest’s right to dispute any claim against, or interest in, any Debtor, its property or its estate;

(iii) a promise or requirement to pay any prepetition claim; (iv) an assumption, adoption, or

rejection of any agreement, contract, or lease under section 365 of the Bankruptcy Code; (v) an

implication or admission that any particular claim is of a type specified or defined in this Motion,

or any order granting the relief requested by this Motion; (vi) an implication, admission, or finding

as to (a) the validity, enforceability, or perfection of any interest or encumbrance on the property

of any Debtor or its estate or (b) the applicability of any exception or exclusion from property of

the estate under section 541 of the Bankruptcy Code or other applicable law; (vii) an impairment

or waiver of any claims or causes of action which may exist against any entity; or (viii) a waiver

of any Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any other

applicable law.

                                          VII.   NOTICE

         21.      Notice of this Motion will be served on any party entitled to notice pursuant to

Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy Local Rule

9013-1(d).




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                                         VIII. PRAYER

         WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

in the form submitted herewith: (i) granting the relief requested in this Motion; and (ii) granting

the Debtors such other and further relief as the Court may deem just and proper.


DATED: April 7, 2025.

                                             OKIN ADAMS BARTLETT CURRY LLP

                                             By:         /s/ Timothy L. Wentworth
                                                    Timothy L. Wentworth
                                                    Texas Bar No. 21179000
                                                    Email: twentworth@okinadams.com
                                                    1113 Vine St., Suite 240
                                                    Houston, Texas 77002
                                                    Tel: 713.228.4100
                                                    Fax: 346.247.7158

                                             PROPOSED ATTORNEYS FOR THE
                                             DEBTORS


                CERTIFICATE OF ACCURACY PURSUANT TO B.L.R 9013-1(i)

         In accordance with Bankruptcy Local Rule 9013-1(i), I hereby certify the accuracy of
the matters set forth in the foregoing Motion.

                                             By:      /s/ Timothy L. Wentworth
                                                    Timothy L. Wentworth




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 7, 2025, a true and correct copy of the foregoing Motion was
served via the Court’s CM/ECF system and by United States First Class Mail to the parties listed
below and on those parties listed on the attached service lists.

Dustin Etter
c/o Noah E. W. Meek
Irelan McDaniel, PLLC
2520 Caroline St., 2nd Floor
Houston, Texas 77004

Erik and Darla Ostrander
20105 Krahn Rd.
Spring, TX 77388

Len E. Walker
The Weaver Law Firm
1800 Bering Dr., Suite 1050
Houston, TX 77057

United States Trustee
515 Rusk St., Suite 3516
Houston, TX 77002-2604

Reagan H. “Tres” Gibbs
Samuel T. Pendergast
Cokins Young
1221 Lamar St., 16th Floor
Houston, TX 77010-3039


                                                    By: /s/ Timothy L. Wentworth
                                                    Timothy L. Wentworth




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Label Matrix for local noticing                      ALLIANCE FARM AND RANCH, LLC                         4
0541-4                                               5450 Honea Egypt Rd                                  United States Bankruptcy Court
Case 25-30155                                        Montgomery, TX 77316-2364                            PO Box 61010
Southern District of Texas                                                                                Houston, TX 77208-1010
Houston
Mon Apr 7 14:22:35 CDT 2025
Alliance Energy Partners, LLC                        Alliance Energy Partners, LLC                        Dustin Etter
20008 Champions Forest Dr., Suite 1203               5450 Honea Egypt Rd                                  c/o Noah E. W. Meek
Spring, TX 77379-8697                                Montgomery, TX 77316-2364                            Irelan McDaniel, PLLC
                                                                                                          2520 Caroline, 2nd Floor
                                                                                                          Houston, TX 77004-1000

Erik and Darla Ostrander                             Reagan H. ’Tres’ Gibbs, III                          Timothy L. Wentworth
20105 Krahn Rd.                                      Cokinos Young                                        Okin Adams Bartlett Curry LLP
Spring, TX 77388-4012                                1221 Lamar, 16th Floor                               1113 Vine St., Suite 240
                                                     Houston, TX 77010-3039                               Houston, TX 77002-1044


US Trustee                                           United States Trustee’s Office                       Thaison Danny Hua
Office of the US Trustee                             515 Rusk St., Suite 3516                             Rejas Hua & Hoang, PLLC
515 Rusk Ave                                         Houston, TX 77002-2604                               4909 Bissonnet St.
Ste 3516                                                                                                  Ste. 100
Houston, TX 77002-2604                                                                                    Houston, TX 77401-4051

Timothy L. Wentworth
Okin Adams, LLP
1113 Vine St., Suite 240
Houston, TX 77002-1044




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Alliance Farm and Ranch, LLC                      (u)Dustin Etter                                      (u)Erik and Darla Ostrander
5450 Honea Egypt Rd.
Montgomery, TX 77316-2364



End of Label Matrix
Mailable recipients    12
Bypassed recipients     3
Total                  15
                           Case 25-30155 Document 40 Filed in TXSB on 04/07/25 Page 11 of 13
Label Matrix for local noticing              Alliance Energy Partners, LLC          4
0541-4                                       20008 Champions Forest Dr.             United States Bankruptcy Court
Case 25-31937                                Suite 1203                             PO Box 61010
Southern District of Texas                   Spring, TX 77379-8697                  Houston, TX 77208-1010
Houston
Mon Apr 7 16:52:03 CDT 2025
405 Technology Solutions                     ADM Machine Shop                       AI Driller Inc
PO Box 8433                                  14217 HWY TX-105                       1801 W Wall St
Moore, OK 73153-8433                         Conroe, TX 77306-5356                  Midland, TX 79701-6531



ASAP Thread Protecters                       Adobe Oilfield Services, Ltd           All-American Trucking
Jose Carrasco                                705 W. Hillmont                        P.O. Box 270568
Houston, TX 77066                            Odessa, TX 79764-1931                  Houston, TX 77277-0568



Alliance Drilling Tools, LLC                 Alliance Farm and Ranch                ArcoTech Drilling Solutions
PO Box 1503                                  5450 Honea Egypt Rd.                   REME Technologies dba Arcotech
Evanston, WY 82931-1503                      Montgomery, TX 77316-2364              PO Box 916
                                                                                    Broussard, LA 70518-0916


Arrington Directional LLC                    Bench Tree Rentals, LLC                Benjamin W. Kadden
Camp Arrington                               2933 E. Davis                          Lugenbuhl, Wheaton, Peck, Rankin
2029 Eagle View Dr.                          Conroe, TX 77301-7216                  601 Poydras, Suite 2775
Navasota, TX 77868-3951                                                             New Orleans, LA 70130-6041


Big H Transport LLC                          Black Diamond                          Black Diamond Oilfield Rentals, LLC
PO Box 215                                   15425 North Freeway Suite 350          15425 North Freeway Suite 350
Dobbin, TX 77333-0215                        Houston, TX 77090-6016                 Houston, TX 77090-6016



Brent William Smith                          Brittany Lopez CPA PC                  Cavare Inc
16516 El Camino Real, Suite 406              7 Grogans Park, Suite 10               Bill Beattie
Houston, TX 77062-5723                       The Woodlands, TX 77380-2402           12066 FM 3083 Rd
                                                                                    Conroe, TX 77301-6104


Conroe Welding Supply Inc                    DAC Electrical Services, LLC           DAVM, LLC
415 South Frazier                            7926 Adcock Acres Dr.                  12419 Bagwell Rd
Conroe, TX 77301-5098                        Conroe, TX 77303-4014                  Willis, TX 77378-4705



DIG                                          Directional Manufacturing and Supply   Discovery Downhole Services
PO Box 916                                   1098 Marcon Dr                         1855 Skyview Dr.
Broussard, LA 70518-0916                     Lafayette, LA 70507                    Casper, WY 82601-9641



Downhole Works LLC                           Drakewell LLC                          Dril Tech, LLC
28723 Shirley Court                          3324 NW 135TH ST                       PO Box 622039
Magnolia, TX 77355-5613                      Oklahoma City, OK 73120-4054           Dallas, TX 75262-2039
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Drilling Tools International                 Dura Coatings                           Dustin Etter
1514 South County Road 1309                  13920 South Meridian                    c/o Noah E. W. Meek
Midland, TX 79707-5839                       Oklahoma City, OK 73173-8804            Irelan McDaniel, PLLC
                                                                                     2520 Caroline, 2nd Floor
                                                                                     Houston, TX 77004-1000

Dyna-Drill                                   Dyna-Drill Technologies LLC             DynoMax Drilling Tools USA, Inc.
23400 Colonial Parkway                       23400 Colonial Parkway                  2830 Farrell Road
Katy, TX 77493-3598                          Katy, TX 77493-3598                     Houston, TX 77073-4106



FT Machine LLC                               Ferretville Investments LLC             Gator Technologies
820 Turney Dr                                20008 Champion Forest Dr., Suite 1204   2017 Traders Ridge Drive
Houston, TX 77038-3922                       Spring, TX 77379-8697                   Conroe, TX 77301-2153



GeoGuidance Drilling Services                Gordon Technologies LLC                 IAE International, Inc. d/b/a Sniper
P.O. Box 42647                               PO Box 1486                             13300 Stonefield Dr.
Bakersfield, CA 93384-2647                   Scott, LA 70583-1486                    Houston, TX 77014-2923



IMECH - Innovative Mech. Solutions, LLC      InMotion Technical Support              Innova Drilling and Intervention
2418 Greens Rd                               P.O. Box 770391                         3050 Post Oak Blvd Suite 510
Houston, TX 77032-1332                       Houston, TX 77215-0391                  Houston, TX 77056-6512



J & B Breakout Unit Repairs LLC              Justin Renshaw                          Keystone Manufacturing
PO Box 604                                   2900 Weslayan, Suite 360                12243 Northwoods Park Drive Suite A
Conroe, TX 77305-0604                        Houston, TX 77027-5132                  Houston, TX 77041



Kyle V. Littlefield                          LMJ Solutions Oilfield Services         Lion Inspection Services
32084 Ponderosa Way                          2700 Industrial Ln                      3002 Farrell Rd
Evergreen, CO 80439-6645                     Conroe, TX 77301-4072                   Houston, TX 77073-3007



Lone Star Trucking                           NOS                                     On Point Logistics
P.O. Box 872                                 2800 Broadway, Suite C-709              15814 Champion Forest Dr. Suite 1083
Odessa, TX 79760-0872                        Pearland, TX 77581-9502                 Spring, TX 77379-7141



Pegasus NGV Trucking                         Performance Power Inc.                  Platinum Transport Service
PO Box 689                                   P.O. Box 1608                           3526 Azalea Sands Dr.
Broussard, LA 70518-0689                     Casper, WY 82602-1608                   Spring, TX 77386-2926



Pmax Energy Services Inc                     Rig Runner                              Schumacher-Dixie, LLC
16655-2 Telge Road                           24955 I45 North                         5610 Polk Street
Cypress, TX 77429-1387                       The Woodlands, TX 77380                 Houston, TX 77023-2106
                           Case 25-30155 Document 40 Filed in TXSB on 04/07/25 Page 13 of 13
Spira Systems Inc                                    Steel River Manufacturing LLC                        Surface Resistance Technologies LLC
16518 Aldine Westfield Road Suite A                  18300 Strack Drive Suite 800                         2998 Old Highway 105 E
Houston, TX 77032-1363                               Spring, TX 77379-8798                                Conroe, TX 77301-6452



Tellez Machine                                       Timothy L. Wentworth                                 Timothy W. Strickland
606 Midland Dr                                       Okin Adams Bartlett Curry LLP                        Kean Miller, LLC
Houston, TX 77037-1227                               1113 Vine St., Suite 240                             711 Louisiana St., Suite 1800
                                                     Houston, TX 77002-1044                               Houston, TX 77002-2832


Triumph Express                                      Turnazontal LLC                                      US Trustee
5805 Archduke Dr.                                    8514 Hamer Ranch                                     Office of the US Trustee
Houston, TX 77032                                    San Antonio, TX 78254-4526                           515 Rusk Ave
                                                                                                          Ste 3516
                                                                                                          Houston, TX 77002-2604

United Machine Works                                 United States Trustee’s Office                       Viking Power Technologies
P O Box 525                                          515 Rusk St., Suite 3516                             5203 Aeropark Dr.
New Waverly, TX 77358-0525                           Houston, TX 77002-2604                               Houston, TX 77032-4039



Viper Energy Technology                              William Hotze                                        Workrise - Rusco Operating, LLC
16623 Aldine Westfield Rd.                           Kane Russell Coleman Logan, PC                       111 Congress Ave. Suite 1300
Houston, TX 77032-1351                               5151 San Felipe, 8th Floor                           Austin, TX 78701-4092
                                                     Houston, TX 77056-3607


Xela Media                                           Timothy L. Wentworth
851 Fisher Street unit B                             Okin Adams, LLP
Houston, TX 77018-5338                               1113 Vine St., Suite 240
                                                     Houston, TX 77002-1044




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Alliance Energy Partners, LLC                     (u)Alliance Energy Partners, LLC20008 Champio        (d)Alliance Farm and Ranch, LLC
20008 Champions Forest Dr., Suite 1203               United States Trustee’s Office515 R                  5450 Honea Egypt Rd.
Spring, TX 77379-8697                                405 Technology SolutionsPO Box 8433M                 Montgomery, TX 77316-2364
                                                     ADM Machine Shop14217 HWY TX-105Conr
                                                     Adobe Oilfield Services, Ltd705 W. Hill
                                                     AI Driller Inc1801 W Wall StMidland
(u)Timothy L. WentworthOkin Adams Bartlett Cu        (u)Timothy L. WentworthOkin Adams Bartlett Cu        (d)Workrise- Rusco Operating, LLC
                                                     Alliance Energy Partners, LLC20008 Cham              111 Congress Ave. Suite 1300
                                                     United States Trustee’s Office515 R                  Austin, TX 78701-4092
                                                     405 Technology SolutionsPO Box 8433M
                                                     ADM Machine Shop14217 HWY TX-105Conr
                                                     Adobe Oilfield Services, Ltd705 W. Hill
End of Label Matrix
Mailable recipients      76
Bypassed recipients       6
Total                    82
